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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MATTEL, INC.,
                                                        Case No. 24-cv-06944
                 Plaintiff,
                                                        Judge Manish S. Shah
v.
                                                        Magistrate Judge M. David Weisman
SHENZHEN BEELAN TECHNOLOGY CO.,
LTD., et al.,
                 Defendants.


                                          STATUS REPORT

          Pursuant to Order [60], Plaintiff Mattel, Inc. (“Plaintiff”), submits the following status

report.

          On December 10, 2024, the Court entered a Final Judgment Order as to all remaining

defendants, with the exception of Defendants Shenzhen Maiketeng Industrial Co., Ltd. (No. 14),

Shenzhen Novecel Automation Equipment Technology Co., Ltd. (No. 17), and Shenzhen Yuwei

Trading Co., Ltd. (No. 28). [61]. Plaintiff and Defendant Nos. 14, 17, and 28 have settled and

Plaintiff anticipates filing a dismissal shortly, which will terminate this case.
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Dated this 17th day of December 2024.   Respectfully submitted,

                                        /s/ Rachel S. Miller
                                        Amy C. Ziegler
                                        Justin R. Gaudio
                                        Rachel S. Miller
                                        Justin T. Joseph
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                                        Counsel for Plaintiff Mattel, Inc.




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of December 2024, I will electronically file the

foregoing with the Clerk of the Court using the CM/ECF system, which will automatically provide

notice to all parties of record in this case.

                                                /s/ Rachel S. Miller
                                                Amy C. Ziegler
                                                Justin R. Gaudio
                                                Rachel S. Miller
                                                Justin T. Joseph
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                                                Counsel for Plaintiff Mattel, Inc.




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